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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:17−cr−00242
                                                     Honorable Franklin U. Valderrama

                                       Defendant.



                       NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 25, 2024:


        MINUTE entry before the Honorable Franklin U. Valderrama. As to Paris Steele:
In−person revocation sentencing hearing held on 10/30/2024. All parties appeared. On
9/12/2024, Probation filed a special report detailing alleged violations of Defendant's
supervised release. The special report alleges that Defendant was arrested by the Oak
Lawn Police Department and charged with Domestic Battery on 09/09/2024 (Violation
No. 1, Grade C). Consequently, the following violations were reported: Violation No. 2,
Grade C: violation of Discretionary Condition No. 17, requiring Defendant to "notify a
probation officer within 72 hours, after becoming aware of any change in residence,
employer, or workplace and, absent constitutional or other legal privilege, answer
inquiries by a probation officer" and to "answer truthfully any inquires by a probation
officer subject to any constitutional, or other legal privilege;" Violation No. 3, Grade C:
violation of Discretionary Condition No. 4, requiring Defendant to "seek, and work
consciously at, lawful employment or," to "pursue consciously a course of study or
vocational training;" Violation No. 4, Grade C: violation of Special Condition No. 2,
requiring Defendant to "participate in an approved job skill training program at the
direction of a probation officer within the first 60 days of placement on supervision;" and
Violation No. 5, Grade C: violation of Special Condition No. 14, requiring Defendant to
"observe one Reentry Court session, as instructed by your probation officer." On
10/29/2024, U.S. Probation filed a Supplemental Report, alleging that several videos were
posted on social media depicting Defendant engaged in criminal activity. Defendant
stipulates to Violation No. 1. The Court finds that Violation No. 1 has been proven by a
preponderance of the evidence. Upon a finding of a Grade C violation, under the
sentencing guidelines, the Court shall modify or revoke probation/supervised release and
consider the sentencing factors in 18 USC 3553(a). The Court, having considered the
Section 3553(a) factors, imposes the following sentence: Defendant will serve a term of
10−months on Violation No. 1 and a 27−month term of supervised release. The Court
imposes mandatory conditions of supervised release No. 1, No. 2, No. 5, and No. 6. The
Court imposes discretionary conditions No. 4, No. 6, No. 7, No. 8, No. 9, No. 14, No. 15,
No. 16, No. 17, No. 18, No. 22, and No. 23. The Court imposes special conditions of
supervised release No. 1, No. 2, No. 3, No. 10, and No. 13. The Court makes the
corrections facility recommendation closest to Chicago. Mailed notice. (jcm)
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